Case 1:16-cr-10094-LTS Document 365-3 Filed 05/21/18 Page 1 of 2

EXHIBIT 3
Actions - $.2114 - 113thCanigteds (HGr20 09 WloidTitansheaidient Fibs:3 whilechPesVshWGill/ RF age-chgéss/senate-bill/2114/all-act...

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$.2114 - Bond Transparency Act of 2014

113th Congress (2013-2014)

All Actions $.2114 — 113th Congress (2013-2014)

All Information (Except Text)

Bill History — Congressional Record References

1 result for All Actions | Compact View

Hide Filters a Sort by Newest to Oldest

O Actions Overview [1] Date All Actions

O All Actions Except Amendments [1]

03/12/2014 Read twice and referred to the Committee on Banking,
© All Actions [1] Housing, and Urban Affairs.
Action By: Senate

Action By &)

Check all

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Senate Committees 8

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[) Banking, Housing, and Urban Affairs [1]

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